Case 4:18-cV-00164-I\/|WB Document 4 Filed 01/26/18 Page 1 of 3

UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,
Plaintiff

v. : Civil Action No. 4:18-CV-00164

THE PENNSYLVANIA STATE
UNIVERSITY; DANNY SHAHA, in his
individual capacity and official capacity : Filed Via Fedcral Express
as Senior Director of the ()ffice of Student:
Conduct; KAREN FELDBAUM, in her
individual and official capacity as
Associate Director of the Officc of

Student Conduct; SPENCER PETERS,
Ofiice of Studcnt Conduct Investigator

Defendants

 

.IOHN DOE’S MOTION TO FILE DOCUNIENTS
UNDER SEAL PURSUANT TO LOCAL RULE 49

AND NO WJ comes the plaintiff, John Doe, through his undersigned counsel,
and files this motion to file the accompanying documents under seal pursuant to
Local Rule 49. The reasons that the documents need to be filed under seal are
evident from review of the document itself.

WHEREFORE, for the foregoing reasons, the clerk is ordered to place the
accompanying documents under seal and the contents of that document shall not be
disclosed to any person Without further Order of the Court. A proposed order is

attached for the convenience of the court.

Case 4:18-cV-00164-I\/|WB Document 4 Filed 01/26/18 Page 2 of 3

January 23, 2018

/s/ Andrew J. Shubin
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Counse[jbr Plaz`ntijj§
John Dc)e

Case 4:18-cV-00164-I\/|WB Document 4 Filed 01/26/18 Page 3 of 3

UNITED STATES ])ISTRICT C()URT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,
Plafntiff

v. : Civil Action No. 4:18-CV-00164

THE PENNSYLVANIA S'I`ATE

UNIVERSITY; DANNY SHAHA, in his

individual capacity and official capacity : Filed Via Federal Express
as Senior Director of the Off'lce of Student:

Conduct; KAREN FELDBAUM, in her

individual and official capacity as

Associate Director of the Office of

Student Conduct; SPENCER PETERS,

Offlce of Student Conduct Investigator

Defendants
CERTIFICATE OF SERVICE
l, Andrew J. Shubin, do hereby certify that the above parties Were served a
true and correct copy of the foregoing l\/lotion via Federal Express to Allison
Newhart, Counsel for Defendants.

January 23, 2018 /s/ Andrew J. Shubin
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Counselfor Plainrr`j’,
.]ohn Doe

